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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 RENEE ZINSKY,                                        Civil Action No. 2:22-cv-547(MJH)

               Plaintiff,                             The Honorable Marilyn J. Horan

                v.

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP, SIMON ARIAS, III,
ARIAS AGENCIES, S.A. ARIAS
HOLDINGS, LLC, AMERICAN INCOME
LIFE INSURANCE COMPANY,
                                                      ELECTRONICALLY FILED
               Defendants.




                    [PROPOSED] ORDER GRANTING DEFENDANT
                  AMERICAN INCOME LIFE INSURANCE COMPANY’S
                    MOTION TO CONFIRM ARBITRATION AWARD

       And now, this ______ day of _________________, 20__, upon consideration of Defendant

American Income Life Insurance Company (“AIL”)’s Motion to Confirm Arbitration Award,

AIL’s Memorandum in Support thereof, and all supporting papers and arguments made before this

Court, and any opposition filed by Plaintiff, it is hereby ordered that AIL’s Motion is GRANTED.

       Pursuant to 9 U.S.C. § 9 the Final Order issued by the panel of arbitrators is confirmed, all

claims brought against AIL by Plaintiff in this action are dismissed with prejudice, as are all claims

brought by Plaintiff against AIL in American Arbitration Association Case No. 01-22-0004-0849

including:

               (1) Intentional violation of the Fair Labor Standards Act (29 U.S.C.
               § 201, et seq.); (2) Intentional violation of the Fair Labor Standards
               Act, Failure to Maintain Required Records (29 C.F.R. § 516, et seq.)
               (3) Violation of the Pennsylvania Minimum Wage Act of 1968
               (“PMWA”) (43 P.S. § 333.104(c) and 34 Pa. Code § 231.41); (4)
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               Violation of the Pennsylvania Wage Payment and Collection Law
               (“WPCL”) (43 P.S. § 260.3); (5) Unjust Enrichment; (6) Breach of
               Contract - Failure to Act in Good Faith; (7) Declaratory Relief –
               Rescission of Agent Contract; (8) Violation of Title VII of the Civil
               Rights Act of 1964 (Title VII) and the Pennsylvania Human
               Relations Act (“PHRA”), Gender Discrimination; (9) Violation of
               Title VII and the PHRA, Sexual Harassment; (10) Violation of Title
               VII and the PHRA, Retaliation; (11) Negligent Retention; (12)
               Intentional Infliction of Emotional Distress; (13) Defamation; (14)
               Intrusion Upon Seclusion; (15) Sexual Assault; (16) Battery; and,
               (17) False Imprisonment.


       Judgment is entered for Defendant AIL on all of Plaintiff’s claims against it and AIL is

dismissed as a party in this action with prejudice.




                                                      __________________________
                                                      The Honorable Marilyn J. Horan
                                                      United States District Court Judge
